      Case: 1:20-cv-06341 Document #: 1 Filed: 10/26/20 Page 1 of 5 PageID #:1




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

Quiana Gray                          )
                                     )
                        Plaintiff,   )
                                     )
v.                                   )
                                     )
ABP Corporation (d/b/a Au Bon Pain), )
                                     )
                        Defendant. )


                                    COMPLAINT

      Plaintiff Quiana Gray, through her attorneys Hale & Monico, complains of

Defendant ABP Corporation (d/b/a Au Bon Pain) and states:

                                     Introduction


1.    This is an action under the Americans with Disabilities Act of 1990 and the

Civil Rights Act of 1991 to correct unlawful employment practices on the basis of

physical injury. Defendant APB Corporation (d/b/a Au Bon Pain) discriminated

against Plaintiff Quiana Gray – a qualified individual – when they refused her

requests for reasonable accommodations.


                                       Parties


2.    Plaintiff Quiana Gray is a resident of Chicago, Illinois.

3.    Defendant ABP Corporation (doing business as Au Bon Pain) (“Au Bon Pain”)

has continuously been a foreign corporation doing business in the State of Illinois and

the City of Chicago, and has continuously had at least 15 employees.


                                          1
      Case: 1:20-cv-06341 Document #: 1 Filed: 10/26/20 Page 2 of 5 PageID #:2




                                Jurisdiction and Venue


4.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343.

This action is authorized and instituted pursuant to 42 U.S.C. § 12117(a).

5.     Venue is proper in this jurisdiction as the incident giving rise to this litigation

occurred in Cook County, Illinois.


                                  Statement of Claims


6.     In 2012, Plaintiff was hired by Au Bon Pain as an entry level worker.

7.     Plaintiff worked at the Au Bon Pain located at Rush University Medical

Center, at both the main location and the smaller kiosks located within the hospital.

8.     Over the next seven years, Plaintiff worked her way up from the entry level

position to being named as an associate manager.

9.     In April 2019, Plaintiff slipped on spilled soup at one of the hospital’s Au Bon

Pain’s locations.

10.    Plaintiff went to the emergency department and was given pain medication.

11.    After going through the worker’s compensation process, Plaintiff was sent for

pain management and was on FMLA leave due to the injuries to her back sustained

as a result of the fall.

12.    On or about July 23, Plaintiff received a letter from Au Bon Pain that

demanded she return to work by July 25.

13.    Plaintiff contacted Au Bon Pain and stated that she was not yet cleared to

return to work.



                                            2
      Case: 1:20-cv-06341 Document #: 1 Filed: 10/26/20 Page 3 of 5 PageID #:3




14.    Plaintiff went to her pain management doctor, who cleared Plaintiff to return

to work but was given a medical restriction that stated Plaintiff could not push, pull,

or lift anything over 15 pounds.

15.    Plaintiff returned to work on or about August 17 and provided Au Bon Pain

with a copy of the medical restriction.

16.    Following her return to work, Plaintiff was assigned to one of the Au Bon Pain

kiosks located in the hospital.

17.    At the kiosks, there is typically only one employee present and that employee

is responsible for all duties. These duties include lifting, pulling, and pulling items

that are greater than 15 pounds.

18.    Plaintiff complained to her supervisor that being the only employee assigned

to the kiosk required her to complete tasks that violated her medical restrictions. On

the other hand, being assigned to the main location at the hospital would permit

Plaintiff to avoid having to perform tasks that would have violated her medical

restrictions.

19.    Despite her request to be assigned to the main location due to her medical

restrictions, Au Bon Pain assigned Plaintiff to work at the kiosks. As a consequence,

Plaintiff was forced to perform duties that violated her medical restrictions and

exacerbated her back injury and pain.

20.    Prior to her injury and subsequent FMLA leave, Plaintiff’s primary shift was

to open the store. Following her return, Plaintiff was changed to being a “floater” who

had random shifts, both opening and closing.



                                           3
      Case: 1:20-cv-06341 Document #: 1 Filed: 10/26/20 Page 4 of 5 PageID #:4




21.   As part of her medical treatment, Plaintiff was referred to complete physical

therapy. The physical therapist only had hours that were Monday through Friday,

ending at 5PM.

22.   Plaintiff’s new, random scheduling did not permit her to attend the physical

therapy as her shift would end after the physical therapist was closed.

23.   Plaintiff had informed her supervisor of her need to complete the physical

therapy and that the closing shifts did not permit her to attend. Despite Plaintiff’s

requests to be scheduled so she could attend physical therapy, her supervisors

continued to schedule her to closing shifts. As a consequence, Plaintiff was not able

to complete the necessary physical therapy, which has led to continued back pain

from her accident.

24.   On or about November 20, 2019, Plaintiff left her employment at Au Bon Pain

due to the conduct of her supervisor.

25.   From the date of her return to work until the date she left her employment, Au

Bon Pain denied Plaintiff reasonable accommodation requests in that they (1) forced

Plaintiff to work in a situation that violated Plaintiff’s medical restrictions and (2)

failed to schedule Plaintiff to shifts that would permit Plaintiff to attend physical

therapy.

26.   During Plaintiff’s approximately eight years of employment at Au Bon Pain,

she was never disciplined and had excelled at her job. She was repeatedly promoted

and given positive work evaluations. In short, Plaintiff was qualified to work for Au

Bon Pain in her position as associate manager.



                                           4
      Case: 1:20-cv-06341 Document #: 1 Filed: 10/26/20 Page 5 of 5 PageID #:5




27.    On April 19, 2020, Plaintiff filed a charge of discrimination with the EEOC and

Illinois Department of Human Rights. On or about August 25, 2020, Plaintiff received

a “right to sue” letter.


                                     Prayer for Relief

Wherefore, Plaintiff prays that the Court order such relief as is necessary to make

Plaintiff whole, including:


A.     Damages, according to the proofs;

B.     Pain and Suffering damages due to the Defendant’s willful conduct;

C.     Attorneys’ fees and costs; and

D.     Any other such relief that is just.


                                      Jury Demand

Plaintiff demands a trial by jury.


                                                 Respectfully submitted,
                                                 /s/ Shawn W. Barnett
                                                 Attorney No. 6312312
                                                 (312) 870-6905
                                                 sbarnett@halemonico.com


Hale & Monico, LLC’
53 W. Jackson, Suite 337
Chicago, IL 60604
HaleMonico.com




                                             5
